                        Case 4:18-mc-80129-DMR Document 3 Filed 08/03/18 Page 1 of 4
 AO 88B (Rev. 02/14) Subpoena lo Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        United States District Court
                                                                            for the

                                                           Northern District of California

           In re; DMCA Subpoena to Twitter Inc.
                                Plaintiff
                                   V.                                                   Civil Action No.



                              Defendant                                        )
                                                                                                  18
                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                             OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                 Twitter, Inc., Attn: Legal Department, 1355 Market Street, Suite 900, San Francisco, OA 94103

                                                        (Name ofperson to whom this subpoena is directed)

       ^ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.




  Place: Kilpatrick Townsend &Stockton LLP, Attn: David                                  Date and Time:
           Caplan, 9720 Wilshire Blvd PH, Beverly Hills, CA 90212
                                                                                                          August 16, 2018, 5:00pm

     n Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:          08/02/18


                                   CLERK OF COURT
                                                                                            OR


                                            Signature of Clerk or Deputy Clerk                                        Attorney's signature


The name, address, e-mail address, and telephone numberof the attorney representing (name ofparty)
BBC Worldwide Limited t/a BBC Studios (Distribution)                                             , who issues or requests this subpoena, are:
David Caplan, 9720 Wilshire Blvd PH, Beverly Hills, CA 90212; dcaplan{gkilpatricktownsend.com; 310-777-3722

                                        Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No.


                                                             PROOF OF SERVICE
                     (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

            I received tllis subpoena for (name ofindividual andtitle, ifany)
on (date)


            •   I served the subpoena by delivering a copy to the named person as follows:


                                                                                        on (date)                                   ; or


            •   I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $


My fees are $                                    for travel and $                             for services, for a total of $               0.00


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                 Server's signature



                                                                                              Printed name and title




                                                                                                 Server's address


Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretaincd expert's opinion or infonnation that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a parly.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(.3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modilying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a parly or a parly's officer; or                                      otherwise met without undue hardship; and
      (ii) is commandedto attend a trial and would not incur substantial                (Ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (c) Duties in Responding to a Subpoena.
  (2) For Other Discnveiy. A subpoena may command:
   {.A) production of documents, electronically stored information, or              (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond lo the categories in the demand.
                                                                                      (B) Formfor Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense,' Sanctions. A party or attorney             If a subpoena does not specify a fonn for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          infomiation, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who            information in more than one fonn.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably acce.ssible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the infonnation is not
permit the inspectionof premises, need not appear in person at the place of        reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations ofRule
   (B) Objeciions. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the parly or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the fonn or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the .serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim ofprivilege or ofprotection as
order must protect a person who is neither a parly nor a parly's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party mu.st promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             infomiation and any copies it has; must not use or disclose the information
   (.A) fVhen Required. On timely motion, the court for the district where         until the claim is re.solvcd; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       infomiation iflhe party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                              present the infomiation under seal to the court for the district where
      (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the infomiation until the claim is
      (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
      (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the couit for the district where compliance is required may, on          motion is transfeired. the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who. having been seived, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                     ATTACHMENT A

               DOCUMENTS TO BE PRODUCED UNDER SUBPOENA

1.   All information that may identify the alleged infringer who posted infringing content
     located at the following Twitter link:
     https://twitter.com/VortexiaTweets/status/1011314100830441473. including, without
     limitation, any name, account name, address, telephone number, email address, birth date,
     profile photo, device information (e.g., IP address, device type, name, operating system,
     MAC address or other identifiers), browser information, location information,
     information from others (e.g., Facebook or Google+) and time posted.

2.   All information that may identify the alleged infringer who posted infringing content
     located at the following Twitter links:
     https //twitter.com/MrWhelaiil 01 /status/101130170.3428313089.
     https //twitter.com/MrWhelan 101/status/1011298964350652418. and
     https //twitter.com/MrWhelanlOl/status/lOl 1300545028657160. including, without
     limitation, any name, account name, address, telephone number, email address, birth date,
     profile photo, device infonnation (e.g., IP address, device type, name, operating system,
     MAC address or other identifiers), browser information, location infonnation,
     information from others (e.g., Facebook or Google+) and time posted.

3.   All information that may identify the alleged infringer who posted infringing content
     located at the following Twitter link:
     https://pbs.twinig.com/media/DaidiWllXUAAKHGI.ipg. including, without limitation,
     any name, account name, address, telephone number, email address, birth date, profile
     photo, device infonnation (e.g., IP address, device type, name, operating system, MAC
     address or other identifiers), browser information, location information, information from
     others (e.g., Facebook or Google+) and time posted.
